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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                SOUTHERN DIVISION

TRANSLUCENT COMMUNICATIONS                      )
                                                )
                Translucent,                    )
                                                )
v.                                              )          Civil No. 8:08-CV-03235-WGC
                                                )
AMERICAS PREMIERE CORP, ET AL.                  )
                                                )
                Defendants                      )


                      TRANSLUCENT'S MOTION FOR SANCTIONS
                     AGAINST DEFENSE COUNSEL MARK MIXTER

         Plaintiff Translucent Communications, LLC ("Translucent"), by and through undersigned

counsel, respectfully moves this Court to impose Sanctions against Defense Counsel Mark

Mixter pursuant to 28 USC § 1927, Rules 26, 30, and 37 of the Federal Rules of Civil Procedure,

and the inherent powers of this Court, to compensate Translucent for unnecessary litigation

expenses and punish Mr. Mixter for his inexcusable, deliberate, and obstreperous behavior

throughout this litigation, and Order Mr. Mixter to respond to this Motion pursuant to Local Rule

105.8.

Dated: October 19, 2009                     Respectfully submitted,

                                            HOLLAND & KNIGHT LLP

                                            __/s/______________________
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                                            Counsel for Plaintiff Translucent Communications
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                            CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 19th day of October, 2009 a true and correct copy of the
foregoing was served electronically on all parties of record.

                                       ___/s/_____________________
                                       Thomas W. Brooke# 8# 8910738_v1




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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                SOUTHERN DIVISION

TRANSLUCENT COMMUNICATIONS                       )
                                                 )
               Translucent,                      )
                                                 )
v.                                               )          Civil No. 8:08-CV-03235-WGC
                                                 )
AMERICAS PREMIERE CORP, ET AL.                   )
                                                 )
               Defendants                        )


     TRANSLUCENT'S MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION
        FOR SANCTIONS AGAINST DEFENSE COUNSEL MARK MIXTER

       Plaintiff Translucent Communications, LLC ("Translucent"), by and through undersigned

counsel, respectfully files this Memorandum of Law in Support of its Motion for Sanctions and

requests that this Court impose monetary sanctions on Counsel for Defendants Mark Mixter for

his inexcusable, deliberate, and obstreperous behavior throughout this litigation. Nearly every

action by Mr. Mixter in this case had little purpose other than to cause delay, drive up costs and

attorney's fees, and multiply the proceedings by engaging in unreasonable and vexatious

conduct. While motions for sanctions in this District are not normally filed as a matter of course,

Translucent, and indeed this Court, can no longer tolerate this behavior. Therefore, pursuant to

Local Rule 105.8, this Court should Order Mr. Mixter to respond to this Motion for Sanctions

and hold him to account for his egregious actions.

                                         ARGUMENT

I.     This Court Should Impose Monetary Sanctions on Mr. Mixter for Unreasonably
       Multiplying the Proceedings by Engaging in Unreasonable and Vexatious Conduct.

       There are several applicable legal grounds upon which this Court can impose sanctions

upon Mr. Mixter for his intentionally disruptive behavior throughout the course of this litigation.
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First, this Court has the inherent authority to redress discovery misconduct through the

imposition of sanctions upon an attorney ranging from award of expenses to a default judgment.

See Poole ex rel. Elliott v. Textron, Inc., 192 F.R.D. 494, 497 (D.Md.2000)(Gauvey, J.); see also

Roadway Express, Inc. v. Piper, 447 U.S. 752, 766-67 (1980)(authorizing award of attorney fees

against counsel). Second, this Court may sanction attorneys pursuant to 28 U.S.C. § 1927, which

provides in pertinent part that “[a]ny attorney ... admitted to conduct cases in any court of the

United States ... who so multiplies the proceedings in any case unreasonably and vexatiously

may be required by the court to satisfy personally the excess costs, expenses, and attorneys' fees

reasonably incurred because of such conduct.” Id.; Higginbotham v. KCS Int'l, Inc., 202 F.R.D.

444, 459 (D. Md. 2001)(J. Bredar)(quoting Resolution Trust Corp. v. Dabney, 73 F.3d 262, 267

(10th Cir. 1995)). The Fourth Circuit requires the trial court to look to the intent of counsel and

award sanctions where there is a finding of bad faith. See Brubaker v. City of Richmond, 943

F.2d 1363, 1382 n25 (4th Cir. 1991). Sanctions may be awarded if counsel's intent was to cause a

nuisance or to unreasonably increase litigation proceedings. See DeBauche v. Trani, 191 F.3d

499, 511 (4th Cir. 1999). If the behavior is intentional or in "reckless disregard" of the attorney's

duties to the court, the court has greater impetus to award sanctions. Higginbotham v. KCS Int'l,

Inc., 202 F.R.D. 444, 459 (D.Md. 2001)(quoting Resolution Trust Corp. v. Dabney, 73 F.3d 262,

267 (10th Cir. 1995)).

       Since the inception of this litigation, Mr. Mixter has intentionally and unjustifiably

delayed every single phase of these proceedings, and has in bad faith caused unnecessary

expenditures of time and money by Translucent and this Court. Mr. Mixter repeatedly thumbs his

nose at the Local Rules, the Federal Rules of Civil Procedure, this Court's Scheduling Order, and

the standards for discovery required in this District. See Mancia v. Mayflower Textile Servs. Co.,




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253 F.R.D. 354, 360 (D.Md. 2008)(J. Grimm)("[D]iscovery must be initiated and responded to

responsibly, in accordance with the letter and spirit of the discovery rules, to achieve a proper

purpose (i.e., not to harass, unnecessarily delay, or impose needless expense."). Translucent has

had to defend itself against Mr. Mixter's frivolous motions and suffered additional attorney's fees

and costs, and been forced to file motions to address Mr. Mixter's clear ignorance of the rules on

general discovery, experts and document production.

       A. Defendants' Failure to Produce Documents and Discovery Delays.

       An example of Mr. Mixter's unreasonable and intentionally dilatory behavior is

illustrated by Translucent's expensive and time consuming effort to obtain documents and

electronically stored information pursuant to simple and narrow Rule 34 document requests. In

short, Mr. Mixter forced Translucent to chase documents that should have been produced by

Defendants without the need for this Court's intervention. Defendants' delay, however, resulted

in a "satellite litigation" over document production, thereby wasting the Court and Translucent's

time and resources.

        Well beyond the original deadline for production, Mr. Mixter eventually produced for

Defendants a mere fifty-seven pages of documents and subsequently denied that any additional

documents were available. During later depositions, however, it became clear that Defendants

not only failed to produce the majority of their electronic records, but also failed to produce any

of their paper records. Translucent was forced to file a Motion to Compel, granted by this Court

on August 10, 2009. (Dkt. No. 48). Defendants were Ordered to produce missing documents,

and instead, Mr. Mixter provided a completely irrelevant "data dump," purportedly of hard drive

images from Defendants' computers on number of CD's. However, these CD's, many of which

are corrupted, contained nothing more than email files from some of Defendants' employees, yet




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notably nothing from Defendant Paul Greene, and no paper documents. See Translucent's

correspondence to Mr. Mixter and his response attached hereto as Exhibit A.

       Translucent expended great time and resources in fighting for access to basic discovery

documents, and upon receipt of the CD's, incurred great cost and expenses utilizing Summation,

its counsel's electronically stored information search tool, as well as associated litigation support

personnel time and resources. Mr. Mixter should be held accountable for Translucent's time and

efforts, and accordingly pay Translucent's attorney's fees and related search costs, at the very

least, in relation to the "data dump" on the CD's given to Translucent. Mr. Mixter demonstrated

the requisite "reckless disregard" for the time and effort to which Translucent would incur in

searching their contents.    Translucent's requests were targeted and precise.         Mr. Mixter's

production on behalf of Defendants clearly was not.

       B. Eleventh-Hour Cancellation of Court-Ordered Post-Discovery Depositions.

       Further in line with his habitual delay tactics, Mr. Mixter sought an eleventh-hour delay

to broadly "extend" discovery two days before discovery was to have closed on July 23, because

"it has become quite apparent [to them] in the last few weeks that the amount of time afforded

the parties in which to conclude discovery is insufficient." (See Dkt. No. 31). As usual, Mr.

Mixter did not make any showing of good cause, or any cause for that matter, sufficient to

warrant extending the discovery deadline, which accordingly was denied by this Court (Dkt. No.

48). This Court, however, gave Mr. Mixter an opportunity to explain his need for an extension

of the discovery period, heard his numerous motions in Court, and afforded him an opportunity

to depose two additional witnesses, Daniel Toledo, Translucent's Vice President, and non-party

Marc Green during an extended limited discovery period. Despite this Court's efforts to permit

Defendants to conduct necessary discovery even after the discovery deadline, Mr. Mixter, who




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had noticed the depositions for September 2, 2009, cancelled both depositions the day before,

this time without providing any reason at all. A copy of this correspondence is attached hereto as

Exhibit B.     Translucent expended great time and resources in preparing Mr. Toledo for his

deposition, and Mr. Mixter should be ordered to reimburse Translucent for such attorney's fees

and costs.

        C. Mr. Mixter's Motion to Withdraw on the Eve of Dispositive Motions.1

        Mr. Mixter's most recent Motion to Withdraw typifies his pattern of delay. As noted

above, the timing of this Motion was clearly intended to coincide with the dispositive motion

deadline. It was nothing more than a tactical attempt to prevent this Court from reaching the

merits of Translucent's filed summary judgment motion. Indeed, if as Mr. Mixter insists, Mr.

Sellman is his co-counsel, then a seamless, inconsequential substitution of counsel was in

order—not a Motion. Instead, Mr. Mixter filed a Motion clearly aimed at distracting Translucent

and disrupting the judicial process. Mr. Mixter also incorrectly represented to this Court that his

Motion was "unopposed" without ever consulting Translucent. Dkt. Nos. 54-56.

        Mr. Mixter's behavior on behalf of Defendants far exceeds the threshold for which

sanctions may be imposed. See Higgenbotham, 202 F.R.D. at 459 (sanctioning attorney $1000

under §1927 for improper conduct during a deposition). See also Poole ex rel. Elliott v. Textron,

Inc., 192 F.R.D. 494 (D. Md. 2000)(J. Gauvey)(imposing $37,258.39 sanctions on defendant and

its counsel jointly and severally for incomplete document production, failure to provide accurate

interrogatory answers, lack of diligent search for documents, refusal to answer questions at a

deposition, and for lack of candor with the Court and opposing counsel).




1
 Translucent directs the Court to its Memorandum in Opposition to Mark Mixter's Motion to Withdraw on Behalf of
Defendants filed contemporaneously with this Motion.


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       D. Last-Minute Cancellation of Scheduled Depositions in May.

       Finally, disruption and delay has been Mr. Mixter's only strategy from the very

beginning. Shortly after the schedule was set in this case, Translucent sought the deposition of

Defendant Paul Greene. However, Mr. Mixter would not give Translucent dates when he or his

client would be available. Mr. Mixter also insisted that the deposition of Translucent's President,

Mr. Brett Schmulian take place at the same time as Mr. Greene's deposition. After a series of

false starts Translucent obliged, and scheduled Mr. Greene's deposition for May 25, 2009 in

Bethesda, Maryland, and Mr. Schmulian's for May 26, 2009 in Baltimore, Maryland.

       However, less than 24-hours prior to Mr. Greene's scheduled deposition, Mr. Mixter sent

Translucent a fax singlehandedly cancelling both depositions, and stating that he was unable to

properly prepare for them because he was attending his daughter's college graduation. A true

and correct copy of this fax is attached hereto as Exhibit C. As a direct result of Mr. Mixter's

conduct, Translucent cancelled the court reporter at the expense of $65.62 in late-cancellation

fees, and Mr. Schmulian lost $289.20 as a result of non-refundable airfare. True and correct

copies of these expenses and a letter demanding payment are attached hereto as Exhibit D.

       Courts have awarded costs merely because depositions were canceled. See Pratt v.

Antoine, 2009 WL 691935, 4 (S.D.N.Y. 2009)(imposing costs on party that cancelled deposition

the day before). Moreover, Mr. Mixter's pattern of conduct here supports further sanctions. It

strains all credibility that Mr. Mixter was unaware of his daughter's graduation so as not to

properly budget his time accordingly. Counsel for Translucent promptly requested payment of

the plane ticket and court reporter fees totaling $354.82, but Mr. Mixter never reimbursed

Translucent. Mr. Greene's deposition did not actually take place until June 15, 2009.




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                                            CONCLUSION

       Mr. Mixter unreasonably and intentionally multiplied these proceedings. Mr. Mixter

delayed the deposition of Defendant Greene for two months, and intentionally waited until the

day before the deposition to cancel offering only perfunctory excuses, and refused to reimburse

Translucent for the associated costs. He intentionally waited to cancel two other Court-Ordered

post-discovery depositions scheduled well in advance, offering no excuse at all. He failed to

produce documents on time, and largely produced none at all, claiming that it was all his clients

gave him. Months later, after close of discovery, he produced a "data dump" of completely

irrelevant electronically stored information on CD's in total reckless disregard of the potential

costs to Translucent associated with sifting through it. Finally, after his path of destruction in

this litigation was complete, Mr. Mixter now seeks to withdraw, leaving his clients technically

unrepresented, in one final attempt to derail this litigation, and even incorrectly representing to

this Court that his Motion was "unopposed" by Translucent. (Dkt. No. 54).

       The pattern of delay and disruption by Mr. Mixter in this case fits his general pattern as a

Maryland attorney. In 2001, Magistrate Judge Bredar found that "Mr. Mixter acted unreasonably

and vexatiuosly and intentionally disregarded his duties to this Court…and that this "multiplie[d]

the proceedings" by necessitating that [the] deposition be reconvened at a later date."

Higgenbotham, 202 F.R.D. at 459 (sanctioning Mr. Mixter for ordering his witness leave a

deposition before opposing counsel was finished for a purely retaliatory purpose). There, Mr.

Mixter was fined a total of $1000 to compensate the opposing party for merely disrupting one

deposition.   Id. Further, the Maryland Court of Appeals' Attorney Grievance Commission

recently reprimanded Mr. Mixter by consent for "improperly delaying litigation in violation of

the Rules." See Attorney Grievance Com'n of Maryland v. Mixter, 943 A.2d 615 (Md. 2008).




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       Mr. Mixter has exhibited such dilatory and contemptuous behavior since the inception of

this case. It is unacceptable, and Mr. Mixter must be sanctioned.. These sanctions should include

the costs and attorneys fees incurred by Translucent in its fruitless chase for simple discovery

documents, including the most recent "data dump" and associated time and resource-consuming

search efforts. These sanctions should also include the attorney's fees and costs associated in the

preparation of Mr. Toledo's deposition, which was cancelled the day before for no reason. These

sanctions should also include the costs incurred by Translucent due to the cancellation of the first

Greene and Schmulian depositions in the amount of $354.82. See Exh. D. In addition, the Court

should award any other amount it deems fair and reasonable, including an award of expenses

caused by Counsel for Defendants' intentional and unreasonable dilatory behavior. Upon request

of this Court, Translucent is ready willing and able to provide all documentation in accordance

with the local rules to aid this Court in determining the amount of attorney's fees due to be paid

by Mr. Mixter's inexcusable conduct.

       Therefore, Translucent respectfully requests this Court impose sanctions upon Counsel

for Defendants, Mark Mixter, for intentionally multiplying these proceedings throughout the

course of this litigation, creating "satellite litigation" which sole purpose was to delay, distract,

and drive up costs, and pursuant to Local Rule 105.8, Order Mr. Mixter to respond to this Motion

for Sanctions and answer for his vexatious conduct which has unnecessarily multiplied the

proceedings.




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Dated: October 19, 2009                Respectfully submitted,

                                       HOLLAND & KNIGHT LLP

                                       __/s/______________________
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                                       Counsel for Plaintiff Translucent Communications

                            CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 19th day of October, 2009 a true and correct copy of the
foregoing was served electronically on all parties of record.

                                       ___/s/_____________________
                                       Thomas W. Brooke# 8# 8910727_v1




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